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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

 

RICK HARRISON, JOHN BUCKLEY HII,
MARGARET LOPEZ, ANDY LOPEZ, KEITH
LORENSEN, LISA LORENSEN, EDWARDS
LOVE, ROBERT MCTUREOUS, DAVID
MORALES, GINA MORRIS, MARTIN SONGER,
JR., SHELLY SONGER, JEREMY STEWARD,
KESHA STIDHAM, AARON TONEY, ERIC
WILLIAMS, CARL WINGATE, AND TRACY
SMITH, as Personal Representative of the Estate of
Rubin Smith,

Plaintiffs,
VS,

THE REPUBLIC OF SUDAN,

Defendant,
vs.

MASHREQBANK PSC,

Respondent.

 

 

Case No. 1:13-cv-03127 (AT)

TURNOVER ORDER
AGAINST MASHREQBANK

 

 

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AND NOW, this 12th day of December , 2013, upon Plaintiffs’ Petition

for Turnover Order Against Mashreqbank pursuant to 28 U.S.C. § 1610(g), CPLR § 5225(b)

and Federal Rule of Civil Procedure 69(a), the Motion is GRANTED. The Court hereby finds

and orders as follows:

1. Plaintiffs obtained a judgment in the District Court for the District of Columbia

in the amount of $314,705,896, plus interest (the “Judgment”), and the entire principal amount

of the Judgment remains unsatisfied.

{10300/00333157.1}

 
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2. Funds held at Mashreqbank are subject to execution and attachment under the
Foreign Sovereign Immunities Act because the owners of the funds are agencies and
instrumentalities of the Republic of Sudan.

3. a, also known as i, is an
agency and instrumentality of the Sudanese government. The following account, totaling
77, plus accrued interest, is subject to execution to satisfy the Plaintiffs’

outstanding judgment:

 

Respondent Bank Account Owner Description Value

ZS Ee OE eee
_

 

 

 

 

 

 

4. be is an agency and instrumentality of the

Sudanese government. The following account, totaling Fag plus accrued interest, are

subject to execution to satisfy the Plaintiffs’ outstanding judgment:

 

Respondent Bank Account Owner Description Value

a iA eee ee
| eae

 

 

 

 

 

 

5. pa is an agency and instrumentality of the Sudanese
government. The following account, totaling ggg plus accrued interest, are

subject to execution to satisfy the Plaintiffs’ outstanding judgment:

 

Respondent Bank Account Owner Description Value

EEE

{10300/00333157.1}

 

 

 

 

 

 

 

 
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6. 2777, also known as Eo. is an agency and instrumentality

of Sudan. The following account, totaling Eo. plus accrued interest, is subject to

execution to satisfy the Plaintiffs’ outstanding judgment:

 

Respondent Bank Account Owner Blocking Date Value

— SS

7. The Court hereby directs Mashreqbank to turn over the proceeds of the

 

 

 

 

 

 

foregoing accounts, totaling 2 (the “Turnover Assets”), together with any
accrued interest, to the Plaintiffs within ten (10) days from the date of this Order.

8. An OFAC license is not necessary to disburse these funds and no notice is
necessary to the Sudanese agencies and instrumentalities. See Heiser v. Bank of Tokyo
Mitsubishi UFJ, New York Branch, 919 F. Supp. 2d 411, 422 (S.D.N.Y. 2013); Heiser v.
Islamic Republic of Iran, 807 F. Supp. 2d 9, 23 (D.D.C. 2011); Weininger v. Castro, 432 F.
Supp. 2d 457 (S.D.N.Y. 2006).

9. Upon turnover by Mashreqbank of the Turnover Assets to the Plaintiffs, plus
all accrued interest thereon to date, Mashreqbank shall be fully discharged pursuant to
CPLR §§ 5209 or 6204 and Rule 22 of the Federal Rules of Civil Procedure, as applicable,
and released from any and all liability and obligations or other liabilities, including all
writs of execution, notices of pending action, restraining notices and other judgment
creditor process of any kind, whether served on, or delivered to Mashreqbank, to the extent
that they apply, purport to apply or attach to the Turnover Assets, to defendant Sudan, and

to any agency and instrumentality of Sudan, or to any other party otherwise entitled to

{10300/00333157.1}

 
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claim the Turnover Assets (in whole or in part), including without limitation, the plaintiffs
in Owens, et al. v. Republic of Sudan, et al., 1:01-cv-02244-JDB (D.D.C.), and any other
persons or entities, to the full extent of such amounts so held and deposited in compliance
with this partial judgment. Mashreqbank shall provide a copy of this order to counsel for
Owens within 5 days of the date of this order.

10. Upon payment and turnover by Mashreqbank of the Turnover Assets to the
Plaintiffs, plus all accrued interest thereon to date, all other persons and entities shall be
permanently restrained and enjoined from instituting or prosecuting any claim, or pursuing
any action against Mashreqbank in any jurisdiction or tribunal arising from or relating to
any claim (whether legal or equitable) to the funds turned over in compliance with
paragraph 7 of this Order.

11. This Order enforces a duly registered District Court judgment from the District of

Columbia, recognized by a New York Federal Court and given full faith and credit by this

 

Court.

So ordered, O}-
ANALISA TORRES

Date: December 12, 2013 United States District Judge

{10300/00333 157.1}

 
